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8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10                                SOUTHERN DIVISION
11
                                              )
12                                            )     Case No.: SACV 17-01898-CJC(GJSx)
     NAK KIM CHHOEUN AND MONY                 )
13                                            )
     NETH, individually and on behalf of a )
14   class of similarly situated individuals, )
                                              )
15                                            )
                  Petitioners,                )
16                                            )     ORDER GRANTING PETITIONERS’
            v.                                )     APPLICATION FOR A TEMPORARY
17                                            )     RESTRAINING ORDER [Dkt. 185]
                                              )
18   DAVID MARIN, DAVID JENNINGS, )
     THOMAS HOMAN, ELAINE DUKE, )
19                                            )
     JEFFERSON SESSIONS III, SANDRA )
20   HUTCHENS, AND SCOTT JONES,               )
                                              )
21                                            )
                  Respondents.                )
22                                            )
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1           On October 27, 2017, Petitioners Nak Kim Chhoeun and Mony Neth filed this
2    class action challenging the Government’s policy of rounding up and placing in
3    immigration detention Cambodian nationals who have been living peaceably in our
4    communities for years. (Dkt. 1 [Complaint].) 1 Petitioners claim that the Government
5    violated the due process clause of the Constitution, along with several immigration
6    regulations and statutes, when it re-detained them without notice and without an
7    opportunity to challenge their removal. (See generally Dkt. 27 [First Amended
8    Complaint].) On August 14, 2018, the Court granted Petitioners’ motion for class
9    certification in substantial part. (Dkt. 149.) The Court certified a class consisting of
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            All Cambodian nationals in the United States who received final orders of
            deportation or removal, and were subsequently released from ICE custody, and
12          have not subsequently violated any criminal laws or conditions of their release, and
13
            have been or may be re-detained for removal by ICE.

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     (Id. at 16.)
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16
            According to Petitioners, the Government has continued to re-detain class
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     members without any notice. Since the raid involving the named Petitioners in late 2017,
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     the Government has carried out two smaller raids. In the spring of 2018, the Government
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     detained without notice approximately 30 Cambodians, many of whom are class
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     members, and interviewed them for travel documents. (Dkt. 127-1 [Declaration of Kevin
21
     Lo] ¶ 6.) In the fall of 2018, the Government detained without notice approximately 50
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     Cambodians—again, many of whom are class members—and interviewed them for travel
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     documents. (Dkt. 185-8 [Declaration of Anoop Prasad] ¶ 3.) Those detained included
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       “The Government” refers to Respondents David Marin, Field Office Director, Los Angeles Field
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     Office, United States Immigration and Customs Enforcement; David Jennings, Field Office Director,
27   San Francisco Field Office, United States Immigration and Customs Enforcement (“ICE”); Thomas
     Homan, Acting Director, United States Immigration and Customs Enforcement; Kirstjen Nielsen,
28   Secretary of the Department of Homeland Security; and Jefferson Sessions III, United States Attorney
     General.
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1    Chhay Kim, who had reported to ICE consistently for 18 years and whose wife was
2    months away from giving birth to their fifth child. (Dkt. 185-10 [Declaration of Chhay
3    Kim] ¶¶ 9, 11, 12.) Class member Sene Sam was likewise re-detained without warning
4    in his own home, and in front of his 10-year-old daughter and mother-in-law. (Dkt. 185-
5    12 [Declaration of Sene Sem] ¶ 25.)
6

7          Petitioners have received “reliable information that [the Government] intends to
8    carry out large-scale raids and re-detain up to 100 class members beginning in January
9    2019.” (Dkt. 185 at 6.) On December 17, 2018, a Cambodian government official
10   alerted one of Petitioners’ counsel about a U.S. diplomatic note inviting Cambodian
11   officials to conduct interviews of 100 Cambodian nationals from January 28, 2019 to
12   February 8, 2019. (Dkt. 185-5 [Declaration of Kevin Chun Hoi Lo] ¶ 3.) According to
13   Petitioners, such interviews have always been preceded by Government raids, which
14   must be conducted sufficiently in advance to transport individuals to their interview
15   location. (Id. ¶¶ 3–5.)
16

17         Concerned about the possibility of yet another raid, Petitioners contacted the
18   Government on December 19, 2018 to determine whether the Government would provide
19   notice to class members before re-detaining them. (Dkt. 185-9 [Declaration of Jingni
20   Zhao, hereinafter “Zhao Decl.”] ¶ 2.) When the Government responded that it would not
21   provide notice without a Court order, Petitioners stated they would seek emergency relief
22   in this Court. (Id. ¶ 3.) The Government asked Petitioners to postpone their filing in
23   light of the Government shutdown. (Dkt. 185 at 6.) Petitioners agreed to do so on the
24   understanding that no raids would be conducted before January 7, 2019. (Id.) Petitioners
25   then filed their application for a temporary restraining order on December 31, 2018, (Dkt.
26   185), and the Government agreed to file its opposition by January 2, 2019, (Zhao Decl. ¶
27   4).
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1          The Government failed to file an opposition to Petitioners’ application for a
2    temporary restraining order. Instead, the Government requested to stay the briefing
3    schedule on Petitioners’ application until appropriations resume. (Dkt. 186.) Despite
4    asking the Court to stay its resolution of Petitioners’ application for a temporary
5    restraining order, the Government did not agree to postpone any raids on Petitioners for
6    the duration of that stay. (See Dkt. 189.) Given the Government’s failure to provide the
7    Court adequate assurances that Petitioners will be afforded sufficient pre-detention notice
8    before the Court issues its ruling, the Court finds that a temporary restraining order is
9    necessary. The Court ORDERS the Government to show cause why a preliminary
10   injunction should not issue. The temporary restraining order will preserve the status quo
11   pending the Court’s Order to Show Cause.
12

13         It is hereby ORDERED that Petitioners’ application for a temporary restraining
14   order is GRANTED, according to the terms set forth below:
15

16                          TEMPORARY RESTRAINING ORDER
17

18         IT IS HEREBY ORDERED that the Government is temporarily restrained and
19   enjoined from re-detaining any class member unless the Government first provides
20   written notice to a class member at least 14 days before detention (“Notice”). Notice
21   must be simultaneously provided to the class member and class counsel, and must include
22   copies of (1) the class member’s charging documents in immigration court, (2) the
23   removal order, and (3) the criminal conviction records upon which the removal order
24   rests. This Order extends to the Government Respondents here and any other federal
25   officials and personnel involved in the removal process.
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1          IT IS FURTHER ORDERED that this temporary restraining order shall remain in
2    effect until the date for the hearing on the Order to Show Cause set forth below, or until
3    such further date as set by the Court or stipulated to by the parties.
4

5     ORDER TO SHOW CAUSE WHY A PRELIMINARY INJUNCTION SHOULD
6                            NOT ISSUE AND ORDER OF NOTICE
7

8          IT IS HEREBY ORDERED that the Government shall show cause why a
9    preliminary injunction should not issue pursuant to Federal Rule of Civil Procedure
10   65(a), restraining the Government from engaging in the activities that are the subject of
11   the above restraining order. A hearing on the Order to Show Cause shall proceed in the
12   United States Courthouse located at 350 West 1st Street, Los Angeles, California,
13   Courtroom 7C, on Monday, January 28, 2019 at 1:30 p.m. The Government shall file
14   and serve an opposition to the Court’s Order on or before January 10, 2019. Petitioners
15   shall file and serve any papers in reply on or before January 17, 2019. The above dates
16   may be revised upon stipulation by all parties and approval of this Court.
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20         DATED:        January 3, 2019
21                                                  __________________________________
                                                      __________________________________
22                                                         CORMAC J. CARNEY
23                                                  UNITED STATES DISTRICT JUDGE
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